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                       IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION

 UNITED STATES OF AMERICA                            §
                                                     §
                                                     § CASE NUMBER 6:17-CR-44-RC
 v.                                                  §
                                                     §
                                                     §
 MICHAEL ELLIOT McCLELLAND,                          §
 a/k/a “Elvis” (1)                                   §


         ORDER ADOPTING FINDINGS OF FACT AND RECOMMENDATION
                     ON DEFENDANT’S GUILTY PLEA

       The Court referred this matter to the Honorable K. Nicole Mitchell, United States

Magistrate Judge, for administration of a guilty plea under Rule 11 of the Federal Rules of Criminal

Procedure. Judge Mitchell conducted a hearing in the form and manner prescribed by Federal

Rule of Criminal Procedure 11 and issued her Findings of Fact and Recommendation on Guilty

Plea Before the United States Magistrate Judge. The magistrate judge recommended that the Court

accept the Defendant’s guilty plea. She further recommended that the Court adjudge the Defendant

guilty on Count One and Count Seven of the Indictment filed against the Defendant.

       The parties have not objected to the magistrate judge’s findings. The Court ORDERS that

the Findings of Fact and Recommendation on Guilty Plea of the United States Magistrate Judge

(ECF 70) is ADOPTED. The Court accepts the Defendant’s plea but defers acceptance of the

plea agreement until after review of the presentence report. The Court ORDERS the Defendant’s

attorney to read and discuss the presentence report with the Defendant, and file any objections to

the report BEFORE the date of the sentencing hearing.




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       It is further ORDERED that, in accordance with the Defendant’s guilty plea and the

magistrate judge’s findings and recommendation, the Defendant, Michael Elliot McClelland, a/k/a

“Elvis,” is adjudged guilty as to Count One and Count Seven of the Indictment charging a violation

of 21 U.S.C. § 846—Conspiracy to Possess with Intent to Distribute and Distribution of

Methamphetamine and 18 U.S.C. § 924(c)—Use, Carrying, and Possession of a Firearm During

and in Furtherance of a Drug Trafficking Crime.

           So ORDERED and SIGNED this 26 day of February, 2018.




                                                        ___________________________________
                                                        Ron Clark, United States District Judge




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